    Case 1:22-cv-21489-KMM Document 1-2 Entered on FLSD Docket 05/13/2022 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      Southern District of Florida

Heriberto Valiente, individually and on behalf of                 )
all others similarly situated,                                    )
                                                                  )
                                                                  )
                            Plaintiff(s)
                                                                  )
                                                                  )
                                v.                                )       Civil Action No.
                                                                  )
StockX, Inc.,                                                     )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) StockX, Inc.
                                           c/o United Agent Group Inc.
                                           3411 Silverside Rd Ste 104
                                           Wilmington DE 19810-4809




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you_
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ._
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Wright Law Office, P.A., 515 N Flagler Dr Ste P300 West Palm Beach FL
                                       33401-4326 (561) 514-0904




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint._
You also must file your answer or motion with the court.


                                                                            CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
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Civil Action No. [Case Number]

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .


            I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

            I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

            I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

            I returned the summons unexecuted because                                                                           ; or

            Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $                     .

           I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address


Additional information regarding attempted service, etc:
